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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

KRISTI LAURIS, Individually and as Case No.: 1-16-cv-00393-SEH
Successor In Interest to the Estate of
DAINIS LAURIS; KRISTI LAURIS as
Guardian Ad Litem for L.L.; and TAYLOR
LAURIS, ORDER

Plaintiffs,
v.
NOVARTIS AG, a Global Healthcare
Company; NOVARTIS
PHARMACEUTICALS CORPORATION,
a Delaware Corporation,

Defendants.

 

 

 

The Court conducted a hearing on November 28, 2017, at the Paul G. Hatfield
Courthouse, Helena, Montana.

Upon the record made in open court,

ORDERED

Defendants’ Motion to Exclude Testimony of Dr. Blume! is DENIED, subject to the
limitations on opinion festimeyy as stated on the record.

DATED this _ 9’ day of November, 2017.

‘AM E, HADDON
United States District Judge

 

' Doc. 146.

 
